Case 2:05-cV-02308-SHI\/|-STA Document 8 Filed 07/14/05 Page 1 of 5 Page|D 14 `

1N THE UNITED sTATEs DISTRICT CoUR'BECE|\/ED

FOR THE WESTERN DISTRICT OF TENNESSEFUS JUN 30 PH 2: 05

 

WESTERN DIVISION
DIANNE WOODS, individually, and in her usl mig`mm COURT
representative capacity as mother and W 05 m MF_MS
administratrix of the estate of
ANTON"IO MILLER, deceased,
Plaintiff,
VS. NO. 05-2308 Ma\An
.TURY DEMANDED

SHELBY COUNTY, TENNESSEE;

ANTHONY ALEXANDER, individually, and in his
official capacity as Director of Chief of

Operations of the Shelby County Division of

Defendants. §§§

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c) ,.
corrections GEORGE M. LITTLE, mdividuany, §§ f § . '
and in his official capacity as Director of the ":`55~¢_____§ § m
Shelby County Division of Corrections; and jjj'l§” '_:'; "<
CORRECTIONAL MEDlCAL sERvICEs, INC., fig vi
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[PROPOSED] RULE 16(b)scHEDUL1NG 0RDER

 

Pursuant to written notice, a scheduling conference Was held on July 20, 2005. At the

conference, the following dates were established as the final dates for:

INITIAL DISCLOSURES (RULE 26(a)(1)): Angust 3, 2005
JOINING PAR'I`IES:
P}aintiff: September 20, 2005
Defendant: October 20, 2005
AMENDING PLEADINGS:
Plaintiff: September 20, 2005
Defendant: October 20, 2005

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Tl'zis document entered on the docket sheet in compliance
with Rufe ab and/or 79(3) FHCP on " '

_ Case 2:05-cV-02308-SHI\/|-STA Document 8 Filed 07/14/05 Page 2 of 5 Page|D 15

COMPLETING ALL DISCOVERY: March 20, 2006
(a) REQUEST FOR PRODUCITON,
INTERROGATORIES AND
REQUST FOR ADMISSIONS: March 20, 2006
(b) EXPERT DISCLOSURE (Rule 26(a)(2)):
(i)) Plaintiff’s Expert: Jaouary 20, 2006
(ii) Defendant’s Experts: February 20, 2006

(ii) Supplemeotation under Rule 26(e): March 2, 2006

(c) DEPOSITIONS OF EXPERTS: March 20, 2006
FILING DISPOSITIVE MO'I`IONS: Apri120, 2006
FINAL LISTS OF WITNESSES AND EXI-IIBITS (Rule 26(a)(3)):

(a) for Plaintiff: 45 days before trial
(b) for Defendant: 30 days before trial

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last three or four days. The presiding judge will set
this matter for Jury Trial. ln the event the parties are unable to agree on a joint pretrial order, the
parties must notify the court at least 10 days before trial.

OTHER RELEVANT MA'I`TERS:

lnterrogatories, Request for Production and requests for Admissions must be submitted to
the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery For example, if the FRCP allows 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion of discovery

Motions to compel discovery are to be filed and served by the discovery deadline or within
30 days of the default or service of the response, answer, or objection which is the subject of the
motion if the default occurs within 30 days of the discovery deadline, unless the time for filing of
such motion is extended for good d cause shown, or any objection to the default, response, or
answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all motions,
except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a proposed Order
and a certificate of Consultation.

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` Case 2:05-cV-02308-SHI\/|-STA DocumentS Filed 07/14/05 Page 3 0f5 Page|D 16

The opposing party may file a response to any motiOn filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that will not be continued unless all parties
agree to a continuance, or an emergency arises which precludes the matter from proceeding to trial.
The parties have not consented to trial before the Magistrate Judge.

T he parties are encouraged to court-annexed attorney mediation or private mediation g
or before the close of discoverv. The parties are willing to mediate this cause and will agree to
use a court-annexed attorney mediation.

This order has been entered after consultation with trial counsel pursuant to notice. Absent
good cause shown, the scheduling dates set by this Order Will not be modified or extendedl

 

 

IT IS SO ORDERED.
S. THOMAS ANDERSON
UNITED STATES MAGISTRATE ]UDGE
Date: Ya£.} /\5; 200_(
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` Case 2:05-cV-02308-SHI\/|-STA DocumentS Filed 07/14/05 Page4of5 Page|D 17

Approved by:

    

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02308 was distributed by faX, mail, or direct printing on
July 18, 2005 to the parties listed.

ESSEE

 

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Honorable Sarnuel Mays
US DISTRICT COURT

